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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CONRAD SMITH, et al.

                              Plaintiffs,
           v.
                                                              Civil Action No. 1:21-cv-02265-APM
DONALD J. TRUMP, “solely in his personal capacity”

                            Defendants.




                           DEFENDANT ZACHARY REHL’S
                   MEMORANDUM OF LAW IN SUPPORT OF HIS
                RULE 12(f) MOTION TO STRIKE IMPROPER MATERIAL
                         FROM THE AMENDED COMPLAINT

       Comes now Defendant Zachary Rehl, and hereby moves to strike from the Amended

Complaint what is called in the law somewhat colorfully or curiously “immaterial, impertinent,

or scandalous matter” for the reasons set forth herein, pursuant to Federal Rules of Civil

Procedure Rule (“FRCP”) Rule 12(f), including allegations that are not only added for improper

purposes to falsely subvert the course of justice by inflaming and deceiving the jury pool in the

District of Columbia but are clearly false for both reasons in violation of FRCP Rule 11.

       Defendant Zachary Rehl respectfully submits this Memorandum of Law in support of his

Federal Rules of Civil Procedure Rule 12(f) Motion to Strike material from the Complaint.



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      DEFENDANT ZACHARY REHL’S COMBINED MEMORANDUM OF LAW
     IN SUPPORT OF ZACHARY REHLS’ MOTION TO STRIKE IMPERTINENT
                       MATTER UNDER RULE 12(f)

I.     INTRODUCTION AND CONTEXT

       In a bail hearing for ZACHARY REHL the U.S. District Court for the Eastern District of

Pennsylvania, the prosecution conceded in proper candor:

                  To be sure, the indictment does not allege that Mr. Rehl
                  engaged directly in violence against officers or
                  destruction of property * * * .

Assistant U.S. Attorney Luke M. Jones, Esq., Page 3, Transcript of Detention/Rule 5 Hearing
Before Honorable Richard A. Lloret, United States v. Zachary Rehl, Case No. 2:21-mj-526-1,
United States Magistrate Judge, U.S. District Court for the Eastern District of Pennsylvania,
March 26, 2021, filed publicly as ECF Docket # 9 in that Court.

       The Complaint explains that

                    1. The eight Plaintiffs in this case are United States Capitol Police
                    officers. Collectively, they have dedicated more than 170 years to
                    their shared mission to protect Congress so that it can carry out its
                    constitutional responsibilities safely and openly. * * * ”

       Those members of the U.S. Capitol Police who were injured during violent

confrontations with a few – very few – of the estimated 500,000 to 1 million people who came to

the District of Columbia on January 6, 2021, deserve to be compensated, to the extent the legal

system is capable of making them whole, for the injuries they sustained. This includes not only

these Plaintiffs but any of the U.S. Capitol Police who suffered injuries.

       However, ZACHARY REHL and most if not all of the other Defendants have nothing

whatsoever to do with the paranoid fantasies and left-wing conspiracy theories spread forth in the

Amended Comlpaint.

       ZACHARY REHL is the son and grandson of police officers.

       In July 2020, REHL participated in the Back the Blue rally in support of police officers,

at the Fraternal Order of Police lodge in Philadelphia.


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       In parallel criminal cases, the U.S. Attorney’s office has not cited to any evidence that

ZACHARY REHL ever encountered or interacted with any U.S. Capitol Police officer or any

other law enforcement officer either on January 6, 2021, or in events leading up to the

demonstrations on January 6, 2021.

       However, these Plaintiffs are not suing those who actually injured them, at least not in

this suit, except as unknown John Does 1-10.

       While this Amended Complaint must be dismissed, ZACHARY REHL wishes these

officers good luck suing those who are actually responsible, which appears to be none of the

Defendants sued herein.

       Here these Plaintiffs are entirely able to sue those who attacked them and injured them.

All they need is access to the identification results of the massive video processing projects by

the FBI and others, performed on behalf of their employer the U.S. Capitol Police and the

Congress.

       In understanding these discussions, unfortunately, just as Kleenex ™ -- the brand name of

one specific company – has become generic and any tissue is called a Kleenex (improperly,

inaccurately, and falsely) – the name “Proud Boys” has been comically mis-used throughout the

political class and news media.

       The Amended Complaint alleges in Paragraph 125 that 300 Proud Boys assembled near

the Capitol. In fact, the total number of Proud Boys in Washington, D.C. on January 6, 2021,

was approximately 50 total. Yet the hysteria in the political class and on the Left calls everyone

a Proud Boy even if the person so accused has never met a Proud Boy.

       The Chair of the Proud Boys dissociated the organization from those who as individuals

chose to attend events that day. Enrique Tarrio told Proud Boys members not to wear any




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uniform, clothes or insignia (“colors”) associated with the Proud Boys. Thus, Tarrio clarified

that anyone going to D.C. was going on their own, not as Proud Boys.

       Yet, apparently, those behind the lawsuit think that there is not enough strife, division,

wounds, and conflict in our society. They want to falsely and sanctionably claim a racial motive

merely to profit from the racial strife. If one makes a living treating Polio, what can they do

when Polio is all but eradicated? They’d have to close up shop. But trying to exploit race and

inflame society is as unacceptable as those who injured police officers.

II.    SUMMARY AND STATEMENT OF FACTS
       RELEVANT TO MOTION

       D) Proud Boys Reject and Prohibit Racism in Their Ranks

       Had the Plaintiffs – in following the herd in partisan politics – performed the

investigation required under Rule 11, they would have seen that the Philadelphia Proud Boys

Club condemns and rejects racism and identity politics. See website page of the Philadelphia

Proud Boys at www.ProudBoysPhiladelphia.com under “LEARN MORE,” attached as Exhibit

A and Exhibit B. (Note that the dishonest Left has set up a false page under a different name.)

A copy preserved by the “Way Back Machine” on December 1, 2002, invites applications to the

Proud Boys with the following explanation:

                  If you would like to join the Philadelphia chapter, you
                  must be a man and you must love the west. Men of all
                  races, religions, national origins, gay or straight are
                  welcome.

       The President of the Proud Boys Club of Philadelphia until his arrest was Zachary Rehl.

The Vice President was his friend Aaron Wolkind. Zachary Rehl and Aaron Wolkind

established the Bylaws of the Proud Boys Club chapter of Philadelphia to forbid membership by

anyone who promotes ethnic nationalism or identitarian race-based groups. Racism is




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prohibited within the Proud Boys and a member or applicant is subject to expulsion from the

Proud Boys for espousing racist or White supremacist beliefs, see, Bylaws, Exhibit C.

                 In keeping with our values, Proud Boys Philadelphia
                 Chapter has no association and will never have any
                 association with Marxist, Fascist, identarian, Alt-right or
                 ethnic nationalist groups. Prospects who are found to be
                 members of Marxist, racially identarian, or ethnic
                 nationalist groups are barred from membership in Proud
                 Boys Philadelphia Chapter. Members of Proud Boys
                 Philadelphia Chapter found to be members of Marxist or
                 identarian organizations or espousing Marxist, identarian,
                 ethnic nationalist, racist or hateful views will be stripped of
                 membership for all time and disavowed.
                         ***
                 (k) Proud Boys Philadelphia Chapter finds all forms of
                 ethnic nationalism and identity politics contrary to Proud
                 Boy and American values. Ethnic nationalism runs counter
                 to the spirit of Western Chauvinism. Proud Boys
                 Philadelphia Chapter believes in individual merit and Civic
                 Patriotism. We reject collectivism in any form, be it socialist
                 class identity or racial identarian world views. In keeping
                 with our values, Proud Boys Philadelphia Chapter has no
                 association and will never have any association with
                 Marxist, Fascist, identarian, Alt-right or ethnic nationalist
                 groups. Prospects who are found to be members of Marxist,
                 racially identarian, or ethnic nationalist groups are barred
                 from membership in Proud Boys Philadelphia Chapter.
                 Members of Proud Boys Philadelphia Chapter found to be
                 members of Marxist or identarian organizations or
                 espousing Marxist, identarian, or ethnic nationalist views
                 will be stripped of membership for all time and disavowed.

       Although this is a word too new in common usage to be found in formal dictionaries, the

popular dictionary appearing on Google defines what the Proud Boys prohibit as being:

              identitarian
              [īˌden(t)əˈterēən]

                      ADJECTIVE
              relating to or supporting the political interests of a particular racial,
              ethnic, or national group, typically one composed of Europeans or
              white people.




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                         NOUN
                 a supporter or advocate of the political interests of a particular racial,
                 ethnic, or national group, typically one composed of Europeans or
                 white people.

       https://www.lexico.com/definition/identitarian

       The Proud Boys clearly and consistently have rejected racism, White supremacy, and all

ethnic nationalism or ethnic identity. That is, the Proud Boys Club stands for the individual, not

racial groups.

       The Proud Boys, of course, are led by a Black man who is an immigrant from Cuba.




                            Enrique Tarrio, Chair of the Proud Boys

       The Proud Boys Club publicly proclaims that 20% of its members are Blacks or

Hispanics. “I denounce White supremacy,” Mr. Tarrio said in a Thursday interview with

WSVN-TV in Miami. “I denounce anti-Semitism. I denounce racism. I denounce fascism. I

denounce communism and any other -ism that is prejudiced toward people because of their race,

religion, culture, tone of skin.” And “Mr. Reilly, author of “Hate Crime Hoax,” said his research

shows law enforcement officials estimate that 10% to 20% of Proud Boys members are racial

minorities.” See Valerie Richardson, "Enrique Tarrio says Proud Boys not White supremacists,"

The Washington Times, October 1, 2020, accessible at:

https://www.washingtontimes.com/news/2020/oct/1/enrique-tarrio-says-proud-boys-not-

white-supremaci/

       Whether or not one might believe those statements to be true, the fact is undeniable that


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the Proud Boys want to present an image of inclusion, diversity, and welcoming of all races.1

       Publicly proclaiming themselves to be 20% minority and wanting to be seen as

welcoming of all races completely destroys the ugly slurs lying about them as racist.

       An organization could not long hold on to any racists or white supremacists while being

led by a Black immigrant from Cuba and proudly proclaiming their open policy of inclusion of

members of all races and even sexual orientation.

       E) False Smears are Desperate Attempts to Block Growing Minority
          Support for Trump and Republicans


       As context, the Plaintiffs echo “the Big Lies” permeating the political world, including

that (1) everyone who disagrees with the political Left is a racist and White supremacist simply

because they do not fall in line with the political Left-wing agenda and (2) the Proud Boys

defend the rights of free speech by blocking violent attacks from the Left such as from Antifa,

(3) therefore the Proud Boys must be stopped so that the Left can shut down free speech of

conservatives and patriots like Mussolini’s Black Shirts and the Brown Shirts, (4) everyone who

disagrees with the Left must be a Proud Boy, therefore (5) let’s all blame the Proud Boys.

       Whereas the political class is free to lie on a spectacularly-appalling level, in this

courthouse there are rules. Had the Plaintiffs performed the investigation required under Rule

11, they would have seen that the Proud Boys Club actually prohibits racism and ethnic identity

and discrimination based on sexual orientation.


1
        Note that the psychological mechanism of racism or racial supremacy is the fear of being
actually inferior or a failure, thus creating a desperate psychological need to find worth in
something other than the individual, such as membership in a “superior” class or race. In other
words, there can be no such thing as a closet racist. The psychological drive is to announce
one’s superiority over other races based on their racial membership in order to compensate for
fears of personal failure. The cavernous psychological need to announce one’s superiority does
not permit a silent racist, for that would destroy the very purpose of feeling superior by race.
This is why the would-be civil rights activists of today must invent new dragons to fight.


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       Similarly, had the Plaintiffs conducted the investigation required by Rule 11, they would

have noticed that President Donald Trump and his supporters have prospered in electoral politics

by openly appealing to minority voters.

       How did Candidate Trump increase the traditional Republican level of support from

minorities? HE ASKED for their votes. See, Candace Smith and David Caplan, “Donald Trump

Appeals to Black Voters: 'What Do You Have to Lose by Trying Something New?' The GOP

presidential nominee said Democrats have done a disservice to blacks,” ABC News, August 19,

2016, accessible at: https://abcnews.go.com/Politics/donald-trump-appeals-black-voters-

lose/story?id=41507104.

       Trump and his supporters appealed to minorities by rejecting racism and showing

minority voters the respect that the Democrat Party did not. Democrats took them for granted.

Cynical Republicans had given lip service to outreach to minorities for decades. Trump and his

supporters convinced minorities that this time Trump truly did want minorities’ votes.

       In reply, the Democrat Party including the Plaintiffs’ counsel has doubled-down on

insulting the intelligence of minority voters and telegraphing that the Democrat Party believes

minority voters are stupid. Pro-Trump Republicans treat minorities like intelligent adults.

       While the Plaintiffs seek to blame all of the Defendants including the Proud Boys such as

Zachary Rehl and Oath Keepers as racists and White supremacists, the one person who claims to

have been the National Organizer of the “Stop the Steal movement” through events across the

country and the “Stop the Steal rally” in Washington, D.C., is a man of mixed African-American

and Middle Eastern descent, Ali Alexander, born Ali Abdul-Razaq Akbar. See Allam, Hannah;

Nakhlawi, Razzan (May 16, 2021). "Black, Brown and extremist: Across the far-right spectrum,

people of color play a more visible role". The Washington Post, accessible at:




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https://www.washingtonpost.com/national-security/minorities-far-right-visible-

role/2021/05/16/e7ba8338-a915-11eb-8c1a-56f0cb4ff3b5_story.html

                 The mob that stormed the U.S. Capitol on Jan. 6 was overwhelmingly
                 White,2 but the official speaker lineup for the rally that day was more
                 diverse.

                 Vernon Jones, a Black former Georgia state lawmaker, and Katrina
                 Pierson, a Black adviser and former spokeswoman for the Trump
                 campaign, were among the speakers parroting the baseless assertion
                 that the 2020 election was stolen from Trump. Another familiar face
                 was main rally organizer Ali Alexander, born in Texas as Ali
                 Abdul-Razaq Akbar, of mixed Black American and Middle
                 Eastern descent.

Id. (emphasis added).

                 “People of color are playing increasingly visible roles across the
                 spectrum of far-right activism. Today, non-White activists speak for
                 groups of radicalized MAGA supporters, parts of the “Patriot”
                 movement, and, in rare cases, neo-Nazi factions. Although a few have
                 concealed their identities, many others proudly acknowledge their
                 backgrounds and offer themselves as counterpoints to charges of
                 pervasive racism in right-wing movements.”

Id.
                 Rapolla’s father has roots in China and Guam, while his mother is a
                 mix of Scandinavian, Inuit, Mexican and Greek ancestry. None of that
                 matters, he said, when he stands alongside fellow “patriots” who
                 share his concerns about government overreach and Second
                 Amendment rights.

                 “People on the far right are automatically labeled as racist,” Rapolla
                 said. “It’s a weapon used by elitists in order to keep their power
                 where they want it.”

Id.
        Rehl is entirely innocent of any injuries sustained by any police officers on January 6,


2
          Even The Washington Post occasionally swerves into the truth, but even then can’t resist distortion: Of
course, the U.S. population is 60% White, its lowest point in U.S. history but still “overwhelmingly White” for
better or worse. Any crowd that reflects the U.S. population should not be commented upon in racial terms.
Photographs and videos of the January 6, 2021, rally are filled with Vietnamese flags and flags of other Asian
nations and of tens of thousands of Asian Americans protesting for Donald Trump because of Trump’s push back
against the Chinese Communist Party. It is intellectually dishonest to suggest something wrong any time a crowd
roughly corresponds to the racial composition of the country.


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2021, as counsel has learned more and more. Surely, the FBI is busy identifying and charging

those who actually attacked police officers. We are confident that the FBI will complete that

task before silencing parents and patriots.

       See also Arun Gupta, “Why Young Men of Color Are Joining White-Supremacist

Groups: THE NEW FAR-RIGHT. Patriot Prayer’s leader is half-Japanese. Black and brown

faces march with the Proud Boys. Is the future of hate multicultural?” The Daily Beast,

September 4, 2018, accessible at: https://www.thedailybeast.com/why-young-men-of-color-

are-joining-white-supremacist-groups (“Indeed, Patriot Prayer’s leader is Joey Gibson, who is

half-Japanese and claims Dr. Martin Luther King, Jr., as a hero.”)

               Elysa Sanchez, who is black and Puerto Rican, attended the “Liberty
               or Death Rally Against Left-Wing Violence” in Seattle on Aug. 18,
               joining about 20 militiamen open-carrying handguns and semi-
               automatic rifles.

       Rehl’s only wrong is that the political establishment has enraged so many of its own

voters whom it claims to represent, sheer numbers alone are not the wrong of the Defendants.

But unable to reform, unable to listen to its own voters, the political class must lie: Therefore,

everyone with a contrary opinion must be a racist and a White Supremacist.

       Thus, the Plaintiffs knew or should have known upon their duty of inquiry that nothing in

the events addressed by their lawsuit were related in any way to racism, White supremacy, or

bigotry. Trump and supporters have actively requested the votes of minorities – and got them.

       And this is why the lies about racism are necessary. Candidate Trump urged minorities

to think for themselves and vote their own interests, by voting Republican.




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       F) False Smears of Racism are Sanctionable and Despicable, Intended to
          Pollute the Jury Pool


       The irrelevant (“impertinent”) side-swipes by the Plaintiffs are sanctionable, made

intentionally to pollute the jury pool. They are intended to inflame both the Court and the jury

against the Defendants, subjecting the Defendants falsely to hatred for things of which they are

innocent, and they exploit the Court’s processes to pursue political goals of smearing political

opponents.

       However, the U.S. Capitol Police issued not one but six (6) different permits for

demonstrations to be held on January 6, 2021, on the U.S. Capitol Grounds. Jason Leopold,

"The Capitol Police Granted Permits For Jan. 6 Protests Despite Signs That Organizers Weren’t

Who They Said They Were," Buzzfeed News, September 9, 2021, updated September 17, 2021,

https://www.buzzfeednews.com/article/jasonleopold/the-capitol-police-said-jan-6-unrest-

on-capitol-grounds?origin=web-hf. To the best of Defendant’s knowledge, these permits were

never revoked.

       Defendant does not minimize the injuries to law enforcement that day by some violent

and out-of-control hooligans. But it is undeniable that people came to D.C. expecting to attend

demonstrations or rallies which had received permits from the U.S. Capitol Police and the U.S.

Park Police, including at the Ellipse between the Washington Monument and the White House.

       The Government reports that about 165 total people have been charged with assaulting,

hindering (whatever that means) and/or impeding (whatever that means) law enforcement

officers, of which about 50 had dangerous weapons. The “weapons” consist of lumber and

construction items left at the site by the construction crews assembling the scaffolding for the

inauguration. At sentencing, the Government counted as dangerous weapons the horn points on




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the Viking helmet of Mr. Chansley referred to as the Shaman (although dressed as a Viking) and

his spear that was merely part of his costume. None of the Defendants had actual weapons in

their possession nor accessible on January 6, 2021.

       None of the Defendants sued here assaulted anyone.

       This lawsuit is plainly filed for an improper purpose to use these noble police officers as

pawns in a partisan political power struggle to advance other people’s agendas, goals, interests,

and benefit. The lawsuit is almost entirely about whether or not the 2020 Presidential election

was stolen.

       This lawsuit is filed by a political law firm from the era of far, far, far-Left Students for a

Democratic Society, which is now today operating as an electioneering Super-PAC to create

campaign commercials for one partisan political party over the other in the upcoming 2022 and

2024 federal election campaigns.

       The lawsuit filed by the political law firm is filed for the additional improper purpose of

seeking to agitate the dispirited and uninspired voter base of the Democrat Party heading into the

2022 and 2024 elections, and to fraudulently raise campaign funds by perpetrating the lie of

racism and/or White supremacy. At a time in our nation’s history when White people are

pretending to be Black to gain advancement and benefits and an actor was just convicted of

hiring two Black friends to pretend to assault him, we see that racism and white supremacy must

now be fabricated because the race-warriors of long ago cannot point to genuine examples.

       As if the events on January 6, 2021, were not wrenching enough, they must be made

worse by a false, groundless, baseless assertion without any evidence that there is some racial

component to those events with regard to the election of Joe Biden with a sketchy past on

segregation and race.




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III.         GOVERNING LAW AS TO MOTION TO STRIKE MATERIAL

             Pursuant to Federal Rules of Civil Procedure (“FRCP”) Rule 12(f), the Defendant moves

the Court to order the removal of references to the Klu Klux Klan and the incendiary attempts to

foment racial division to taint the jury pool in the District of Columbia, such as gratuitously,

irrelevantly, and unnecessarily including false allegations about the racial composition of a few,

but only a skewed select few, cities.

             FRCP Rule 12(f) provides that (using curious terminology):

                                     ***
                    (f) MOTION TO STRIKE. The court may strike from a pleading an
                    insufficient defense or any redundant, immaterial, impertinent, or
                    scandalous matter. The court may act:
                         (1) on its own; or
                         (2) on motion made by a party either before responding to
                         the pleading or, if a response is not allowed, within 21
                         days after being served with the pleading.
                                     ***

       IV.      ARGUMENT

             A) Allegations Of Racism Are Dramatically Immaterial

             Surprisingly, counsel found little useful in precedents for defining the legal meaning of

“impertinent” under FRCP Rule 12(f). However, Business Guides, Inc v. Chromatic

Communications Enterprises, Inc, 498 U.S. 533, 557, 111 S.Ct. 922, 112 L.Ed.2d 1140 (1991)

explains the rule for signature of counsel from English law as ensuring that in "the case laid

before him, there is good ground for the suit in the manner in which it is framed.'..." including

avoiding that "a bill contained ' irrelevant, impertinent, or scandalous' matter. J. Story, Equity

Pleadings § 47, pp. 41-42 (1838)." That tends to endorse the interpretation that allegations

which do not support “good ground for the suit” will likely be “impertinent” under Rule 12(f) –

that is not material to the Causes of Action of the Complaint.




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       That is, material to be struck under Rule 12(f) is both unnecessary to the legal claims and

also scandalous or otherwise offensive, or even unduly prejudicial.

       Defendant’s counsel (always) urges a logical test: Suppose we deleted from the

Complaint all references to race and the KKK: Would anything change in terms of the

legitimate legal aspects of the case?

       The Complaint does allege in Count III liability under D.C. Code § 22-3704(A) – the

D.C. Bias-Related Crimes Act. However, Count III does not allege a racial bias. Count III

alleges political bias. In the only place where bias-related violence is touched on, the Plaintiffs

do not connect anything having to do with race or racism to the Complaint.

       These smears are unfairly prejudicial. The Plaintiffs oppose the motion by arguing it is

preferable to leave them in rather than to disturb the Complaint as written. On the contrary,

under these circumstances, the inflammatory and incendiary nature of these smears make them

unfairly prejudicial

               In regulating the scope of argument, the court should be guided by
               criteria that are related to the function of argument, i. e., to help the
               jury remember and interpret the evidence.4 The prosecutor and the
               defense counsel in turn must be afforded a full opportunity to advance
               their competing interpretations, and to emphasize the principles of
               law that favor their respective positions.5 The court should exclude
               only those statements that misrepresent the evidence or the law,6
               introduce irrelevant prejudicial matters,7 or otherwise tend to confuse
               the jury.8

United States v. Sawyer, 443 F.2d 712, 713-714, 143 U.S.App.D.C. 297 (D.C. Cir.
1971). The introduction of groundless distractions can complicate the trial, including
by necessitating rebuttal evidence for a fictitious topic that was never substantiated:

               Even under such circumstances the evidence is not inadmissible in the
               usual sense, but rather is excluded because its admission would
               unnecessarily expand the trial to include collateral issues, and thus
               confuse the jury.14 * * * If confusion and misleading of the jury is
               accomplished in part by a fictitious opening statement,16 it is no less




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               reprehensible on that account and the necessity for explanation in
               rebuttal may be even greater.

Generally, Bracey v. United States, 142 F.2d 85,89-90, 79 U.S. App. D.C. 23 (D.C.
Cir. 1944)

       There is nothing about the Plaintiff’s Complaint which depends upon these gratuitous

smears of racism. 3 The false claims actually interfere with any legitimate (if disputed) claims.

The incendiary claims of racism distract serve only purposes exterior to the courthouse. But

here in this Court, the Court can require the rule of law.

       B) A Coincidence Of Race Does Not Justify Claims Of Racism

       It is not relevant whether the Plaintiffs are Black. As alleged in the Complaint, were any

of the Plaintiffs attacked because of being Black? Clearly no. The Plaintiffs do not allege that.

       The Plaintiffs have not alleged that any of the Defendants even knew the race of any of

the officers, underneath riot gear helmets. The videos show that the most violent confrontations

were with officers wearing riot gear and military-style helmets that obscured their faces and

heads. See: https://www.youtube.com/watch?v=c00DjN4m7G4&t=282s Therefore, those who

actually did attack police officers did not do so because of anyone’s race.

       U.S. Capitol Police are shown on videos lined up under an arched main entrance side by

side engaged in battles with a few rioters. Did rioters assault only the Black officers? No.

Similarly, there are videos of brawls in an open courtyard. Do we see violent demonstrators

singling out only the Black police officers? No. About 50-250 violent people indiscriminately

battled with any police officer near them, regardless of their race.



3
        Because the Plaintiffs have chosen to bring an omnibus Complaint of many Plaintiffs
against many Defendants, the roles of some Defendants being entirely different than others, the
Plaintiffs cannot ground blanket claims of racism or White supremacy against all Defendants
from allegations that some unidentified person – not necessarily any of the Defendants --
supposedly shouted racial epithets, especially when no proof supports this.


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       The Complaint alleges that the Defendants, primarily Rudy Guiliani, mentioned examples

of voter fraud and electoral fraud in cities that happen to have high percentages of both racial

minorities and Democrat Party control. But did any of the Defendants mention the race of any

voter? No. The Plaintiffs introduced the racial composition of those cities. Did any of the

Defendants criticize the election in any city based on the race of any voter? No. The Plaintiffs

want to complain based on the mere accident of racial composition of disputed cities.

       Indeed, the racial composition of those cities refers to the legitimate registered voters in

those cities. But voter fraud and electoral fraud involves campaign staff or others stealing the

ballots or identities of the actual voters. The race of the legitimate, registered voters of a city are

not relevant. The criminals who stole their votes4 would have to be considered, not the race of

the voters whose votes were stolen.5


       C) Racism Is One Of The Ugliest Smears In American Society

       If false charges of racism and White supremacy do not move this Court to enforce FRCP

Rule 12(f), what will? It is hard to imagine any worse (false) condemnation in today’s society

than to call someone a racist. So is Rule 12(f) basically dead letter?

       Around 0.05% of the estimated 500,000 to 1 million citizens who demonstrated in

Washington, D.C., physically assaulted U.S. Capitol Police officers and D.C.’s Metropolitan

Police Department officers. If these Plaintiffs and others injured were suing those 50-250

4
        See, generally, “Ballot Harvesting: What Is It? How Does It Work?”, FindLaw,
https://www.findlaw.com/voting/how-u-s--elections-work/ballot-harvesting--what-
is-it--how-does-it-work-.html (“Recent elections in North Carolina have shone a light on
potential abuses of ballot harvesting tactics, including: Mishandling filled and unfilled
ballots; Influencing voters' decisions; Illegally filling out voters' ballots”).
5
        To understand what the Defendants were claiming – having nothing to do with race
– there is probably no explanation closer to the Defendants than “The Navarro Report” by
Peter Navarro, a former Trump aide. Race clearly plays no role in the allegations of the
Defendants about the election. https://peternavarro.com/the-navarro-report/


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assailants, they would be limited only by the financial capacity of those assailants to compensate

them.

         But this lawsuit is filed against the wrong parties and for an improper, partisan purpose.

         Finally, we were lectured that we must not judge the mostly White “Black Lives Matter”

demonstrators by the violence of a few. Yet now it is argued that the 99.95% of January 6, 2021,

demonstrators who were thoroughly peaceful are the same as the 0.05% who battled with police.

         There was a time, when America was good, that civil rights lawyers fervently rejected

judging people as a group based on the actions of a few. Today, partisan advantage is all.


         D) “The Klu Klux Klan Act” Does Not Exist – Plaintiff Falsely Claim
            Racism out of Despicable, Incendiary Race-Baiting to Taint the
            Jury Pool

         The Complaint purports to be a suit under the (Anti) Klu Klux Act of 1871.

         But the Klu Klux Klan Act does not exist.

         The Civil Rights Act of 1871 does exist.

         Plaintiffs are referring to Public Law (P.L.) 42-22 (April 20, 1871) -- Session 42, Chapter

22; 17 Stat. 13, formally named "An Act to enforce the Provisions of the Fourteenth

Amendment to the Constitution of the United States and for other Purposes.”

         According to the U.S. Supreme Court the official short name is “The Civil Rights Act of

1871.”6 See, e.g., the reference in Monell v. Department of Social Services of City of New York,

436 U.S. 658, 664, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978). The “Civil Rights Act of 1871” was

shepherded through Congress and signed by Republican President Ulysses S. Grant, to carry out

the policies of Republican President Abraham Lincoln.


6
          Those seeking to inflame racial tensions pretend that 1964 was the first time a Civil Rights Act was passed,
ignoring the landmark Civil Rights Act of 1957 that Republican President Dwight D. Eisenhower championed and
ran for re-election on, and the Republican Civil Rights Act of 1960. Here, the suit is on the 1871 Civil Rights Act.


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        The session law to which Plaintiffs are referring is now codified in 42 U.S.C. § 1985. (It

was previously codified under the “Revised Statutes.”) A cause of action should be brought

under 42 U.S.C. § 1985 as the most proper, useful, official, and legally valid way to state a cause

of action. This is important because the codified statutes incorporate in one place all of the

accumulated changes to federal statutes enacted over the years. 7

        The other informal name of the Civil Rights Act of 1871 is “The Third Enforcement

Act of 1871,” referring to the power under the Fourteenth Amendment of Congress to pass laws

to enforce the Fourteenth Amendment. There are occasional references to a Klu Klux Klan Act,

but that is not the name for the statutes.

        Strikingly, there is no mention of the Klu Klux Klan anywhere in P.L. 42-22 – either in

its name, short or long version, or in the actual text of the session law itself. P.L. 42-22 has a

name. The Act has nothing to do with the KKK. Not using the correct, official name of the

statute is an effort to imply racism without evidence.

        Attempts fail at suggesting that the KKK was the evil being addressed by the Act. The

Act reads as focused on the acts that initiated the Civil War, not on the KKK, such as the

rebellion of the Confederacy or the attack on Ft. Sumter. Historically, the KKK was largely a

covert instrument of government officials in the former Confederacy.8 The KKK mostly



7
        In 1882, the U.S. Supreme Court ruled that the enforcement acts like P.L. 42-22 are
unconstitutional, in United States v. Harris, 106 U.S. 629 (1882) (“As, therefore, the section of the law
under consideration is directed exclusively against the action of private persons, without reference to the
laws of the states or their administration by the officers of the state, we are clear in the opinion that it is
not warranted by any clause in the Fourteenth Amendment to the Constitution.”). Thus, lawsuits like this
should be brought under the codified statutes of the United States Code, not under original session laws
which could undergo modification over the years.
8
        “The Ku Klux Klan was and is undeniably a terrorist organization—but what made the Klan an
especially insidious terrorist organization, and a threat to civil liberties, was that it functioned as the
unofficial paramilitary arm of Southern segregationist governments ... it will be remembered as an
instrument of cowardly Southern politicians who hid their faces behind hoods, and their ideology behind
an unconvincing facade of patriotism.” Tom Head, “Timeline History of the Klu Klux Klan,”


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terrorized private individuals but served government officials. Many members of the KKK were

themselves government officials by day, from police officers to mayors to military, but wore

masks or hoods by night to sustain their governmental positions.9

       Reconstruction stopped in 1877 when Democrats in Congress demanded the removal of

Federal authorities from the former Confederate states as a condition of resolving the disputed

presidential election of 1876. U.S. Government authority over former Confederate States was

curtailed in the chambers of the U.S. Congress. 10

       It was not KKK resistance to government, but wheeling and dealing in the cloakroom (or

similar locations) of the U.S. Congress, that brought Lincoln’s Reconstruction Era to an end, and

brought on Jim Crow laws and KKK terror as federal troops withdrew from the South,

discrimination, segregation, etc.

       Ironically, it was a disputed Electoral College vote tally in the 1876 presidential election

that ended Reconstruction. While the 1877 Compromise was ugly and reeks of vote-trading and

corruption, critics of these Defendants refuse to acknowledge that Congress’ role in counting

Electoral College votes has always included hearing and resolving disputes.

       Therefore, reading the substance of P.L. 42-22 also does not add any support to dragging

ThoughtCo. , updated December 14, 2020, accessible, at: https://www.thoughtco.com/the-ku-klux-
klan-history-721444. Saved and preserved on April 18, 2021.
9
         "In the 1920s, during what historians call the KKK’s “second wave,” Klan members served in all
levels of American government." Tara McAndrew, "The History of the KKK in American Politics,"
JSTOR, January 25, 2017, accessible at: https://daily.jstor.org/history-kkk-american-politics/
10
         “The Democrats agreed not to block Hayes’ victory on the condition that Republicans withdraw
         all federal troops from the South, thus consolidating Democratic control over the region. As a
         result of the so-called Compromise of 1877 (or Compromise of 1876), Florida, Louisiana and
         South Carolina became Democratic once again, effectively bringing an end to the Reconstruction
         era.”
                           ***
         “The Compromise of 1876 effectively ended the Reconstruction era. Southern Democrats’
         promises to protect civil and political rights of blacks were not kept, and the end of federal
         interference in southern affairs led to widespread disenfranchisement of blacks voters.”
"Compromise of 1877," History Channel, March 17, 2011, updated November 27, 2019, accessible at:
https://www.history.com/topics/us-presidents/compromise-of-1877


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the Klu Klux Klan into this lawsuit, either.

       E) References to Klu Klux Klan Are Irrelevant and Impertinent

       Why, then, do the Plaintiffs sue within the District of Columbia under a supposed “Klu

Klux Klan Act of 1871?” Why not state a cause of action properly under 42 U.S.C. § 1985?

       Rather than using the correct name of the law, Plaintiffs strain to try to inject race into a

racially neutral and color blind controversy.

       This entirely unnecessary, irrelevant (“impertinent” as the rules call it), and inappropriate

racial polarization is prejudicial under FRCP Rule 12(f) and a deliberate, knowing, intentional

effort to influence the jury pool. It is also a deliberate, knowing, intentional effort to use the

Court to defame the Defendants outside of Court. And it does public harm to society outside of

the Court to have activities in this Court – using the prestige of the federal judiciary – to promote

racial polarization and gratuitously inflame racial animosity which can cause actual, real harm.

       The references are included TO INFLAME, NOT TO INFORM.

       The Complaint would inflame the jury pool to prejudice the Defendants and to abuse the

judicial process to defame the Defendants in the public through the courts.

       Since 92.15% of the District of Columbia’s voters voted for the Democrat candidate for

President Joe Biden rather than for Donald Trump, see Exhibit D, attached, Plaintiffs’ ploy has

already inflamed potential jurors and will deny the Defendants a fair trial as required under the

Due Process requirements of the U.S. Constitution.

       F) Plaintiffs on Their Initiative Have Tainted the D.C. Jury Pool

       The publicity resulting from this lawsuit was not – as in the typical case – a result of

events preceding a case, but from the lawsuit itself.

       Here, the surge of publicity intentionally seeking to smear Defendants as violating the




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“Klu Klux Klan Act” was entirely caused by the Plaintiffs’ law firm, and the public relations

efforts of allies.

        This lawsuit is a campaign commercial for one national political party and the false

smears of race-baiting are the Willie Horton of the Left in the 2022 election cycle. One political

party cannot win in 2022 honestly on the facts or their lack of achievements so they must lie.

        Pre-trial publicity has falsely presented this lawsuit as claiming violations of the Klu

Klux Klan Act. See, index of 27,800 Google search results attached as Exhibit E. Saturation

news coverage reached the D.C. jury pool through USA Today, 11 Politico, 12 The Washington

Times, 13 The Washington Examiner, 14 and The Washington Post, 15

        G) Specific Allegations That Are Objectionable

        The Amended Complaint explicitly includes false and sanctionable allegations in

violation of FRCP Rule 11 and in violation of FRCP Rule 12(f):

                 4. Racism and white supremacy pervaded Defendants’ efforts from
                 the outset. Defendants targeted false claims of election fraud at cities
                 and states with significant Black populations—including Atlanta
                 (51% Black), Detroit (78% Black), Milwaukee (39% Black),
                 Philadelphia (43% Black), and Pittsburgh (23% Black)—and sought
                 to intimidate and threaten officials from those and other jurisdictions
                 into overturning the will of the voters. They relied on white
                 supremacist groups and sympathizers to organize and hold rallies and
                 to help plan and carry out the Capitol Attack. Participants in the
                 Attack directed racial epithets at Black officers protecting the Capitol.
                 And after breaching the Capitol, the attackers paraded the
                 Confederate flag and other symbols of white supremacy through the
                 Capitol’s halls.

        In fact, if votes were stolen from those communities, it means that the votes of Blacks

and other minorities were stolen. These minority voters are the victims of electoral fraud, in the

11
        See Exhibit F, attached.
12
        See Exhibit G, attached.
13
        See Exhibit H, attached.
14
        See Exhibit H, attached.
15
        See Exhibit I, attached.


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arguments of the Defendants.

        See also ¶ 76 where the Plaintiffs allege facts as to the Arizona election dispute as

background, but not in the context of “race.” Curiously, Arizona is over 60% White. See,

Statistical Atlas https://statisticalatlas.com/state/Arizona/Race-and-Ethnicity#overview .

        Furthermore, the “Stop the Steal” campaign and concerns began with Antrim, County,

Michigan, which is 92.7% White.16 Suspicions of many that the election was flawed began when

the vote in Antrim County, Michigan placed 8,000 votes in Joe Biden’s column on election night

and then upon expression of surprise given past voting patterns election officials flipped those

8,000 votes to Donald Trump.17

        The Plaintiffs allege the racial composition of certain cities, but blatantly omit the main

areas of the election dispute which are overwhelmingly White populations. Thus, the Plaintiffs’

counsel know that their allegations are false. This is sanctionable.


                27. PROUD BOYS and its members espouse violence and white
                supremacy. They aspire to develop and maintain a dominant white,
                western European racial and national identity. They have promoted
                and committed acts of violence against members of the Black
                community, women, Muslims, Jews, immigrants, and other
                historically marginalized peoples, as well as organizations that
                support them. PROUD BOYS members have repeatedly aligned
                themselves with other white supremacist and neo-Nazi groups,
                purposefully engaged in coordinated street violence, and participated
                in violent extremist gatherings such as the 2017 “Unite the Right”
                rally in Charlottesville, Virginia. The Southern Poverty Law Center
                has designated PROUD BOYS as a hate group, and Canada has
                named PROUD BOYS a neo-fascist terrorist entity.

        As demonstrated above, the Proud Boys prohibit racism and welcome members of all

races, religions, and sexual orientations. It is in their application page and their bylaws. The

16
  https://statisticalatlas.com/county/Michigan/Antrim-County/Race-and-Ethnicity
17
  Randy DeSoto,” Michigan County Flips to Trump After Major Vote Tabulation Error Discovered,” Western
Journal, November 6, 2020, https://www.westernjournal.com/michigan-county-flips-trump-major-vote-tabulation-
error-discovered/


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Chair of the Proud Boys is a Black man. The Plaintiffs’ allegations are sanctionable as well as

laughably absurd.


               58. TRUMP also knew his supporters, including other Defendants,
               consisted of individuals and organizations that espoused white
               supremacy and violence against Black Americans and other
               marginalized groups. For example, at the first Presidential campaign
               debate on September 29, 2020, TRUMP was asked repeatedly to
               denounce “white supremacists,” “militia groups,” and specifically
               PROUD BOYS. In response, instead of denouncing them, TRUMP
               told PROUD BOYS to “stand back and stand by.”

       In fact, Trump explicitly denounced the Proud Boys and all White supremacists. The

allegations concern the presidential debate in Columbus, Ohio, when Joe Biden – not Donald

Trump -- mentioned the Proud Boys during the September 29, 2020, debate.

       The moderator of the debate, Chris Wallace, asked debate participant Donald Trump

during that debate: 18

                     CHRIS WALLACE: Are you willing tonight to condemn white
                     supremacists and militia groups…”
                     DONALD TRUMP: “Sure…”
                     CHRIS WALLACE: “And to say that they need to stand down
                     and not add to the violence in a number of these cities as we
                     saw in Kenosha, and as we’ve seen in Portland”
                     DONALD TRUMP: “Sure, I'm willing to do that.”
                     CHRIS WALLACE: “Are you prepared specifically to do it?
                     DONALD TRUMP: “I would say almost everything I see is
                     from the left wing not from the right wing.”
                     CHRIS WALLACE: “But what are you saying?”
18
         C-SPAN, September 29, 2020, accessible at: https://www.c-span.org/video/?475793-1/trump-
biden-debate&live. NOTE: C-SPAN admits that the apparent transcript on the left side is computer-
generated closed caption text, and is not prepared by any human and C-SPAN disclaims any claim to its
accuracy. One must listen to the actual words spoken in the video. See Jonathon Moseley, "C-SPAN
posting inaccurate transcripts of Trump briefings -Updated," American Thinker, April 30, 2020,
accessible at:
https://www.americanthinker.com/blog/2020/04/cspan_posting_inaccurate_transcripts_of_trump_briefing
s.html. Counsel searched for news media transcripts to cite to and found that none of them agree with
each other or with the actual video of the candidates and mediator actually speaking on camera.


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                      DONALD TRUMP: “I'm willing to do anything. I want to see
                      peace.”
                      CHRIS WALLACE: “Well, do it, sir.”
                      JOE BIDEN: “Say it. Do it. Say it.”
                      DONALD TRUMP: [pause, thinking] “What do you want to
                      call them? Give me a name. Give me a name. Go ahead and
                      who do you want me to condemn?”
                      CHRIS WALLACE: “White supremacists and right-wing
                      militias”
                      JOE BIDEN: “Proud Boys”
                      DONALD TRUMP: “Proud Boys… Stand back and stand by.
                      But I’ll tell you what, somebody’s got to do something about
                      Antifa and the left because this is not a right-wing problem.
                      This is a left-wing problem.”

         Thus, the allegation oft-repeated is a fraudulent lie. There is no indication that Trump

ever had the Proud Boys on his mind nor that he intended to communicate anything to them.

When Joe Biden suggested that Donald Trump should condemn the Proud Boys and tell them to

stand down, Donald Trump agreed… but only upon Joe Biden choosing the target Biden’s

fixation and paranoia.

         On the contrary, Trump disclaimed having any group or person in mind. In the video

(not in written form), Trump visibly hesitates before asking “What do you want to call them?

Give me a name. …” indicating that he doesn’t know specifically who Chris Wallace is talking

about.

                   "I don't know who the Proud Boys are. You'll have to give
                   me a definition because I really don't know who they are. I
                   can only say they have to stand down and let law
                   enforcement do their work," Trump told reporters at the
                   White House.

                   The president then echoed his comments from Tuesday
                   night, insisting that the "real problem" is antifa, the broad,
                   far-left militant anti-facist movement.




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                  "Whatever group you are talking about, let law enforcement
                  do the work. Now, antifa is a real problem. Because the
                  problem is on the left. And Biden refuses to talk about it,"
                  Trump said.

                  * * * When asked by a reporter if he welcomed support
                  from white supremacist groups or would denounce them,
                  Trump said that "law and order" was important to his
                  campaign, and added, "I have always denounced any form –
                  any form of any of that, you have to denounce. But I also –
                  Joe Biden has to say something about antifa."

Claire Hensen, "Trump: ‘I Don’t Know Who the Proud Boys Are,’" U.S. News, September 30,
2020, accessible at: https://www.usnews.com/news/national-news/articles/2020-09-30/trump-i-
dont-know-who-the-proud-boys-are

       Note that it does not matter if trump secretly believed what he said. It is a sanctionable

misrepresentation in violation of FRCP Rule 11 to claim that the Proud Boys would be

encouraged by Trump telling the world “I don't know who the Proud Boys are.” Or “I can only

say they have to stand down and let law enforcement do their work.” Or “Whatever group you

are talking about, let law enforcement do the work.”

       When asked for the 100,000th time if he would denounce White supremacists – which

Trump has always answered yes, he does – “I have always denounced any form – any form of

any of that, you have to denounce.” This would not encourage or conspire with White

supremacists, if there are any left in the United States.



               68. Many of the false claims of election fraud propagated by
               Defendants targeted Black and minority voters. TRUMP, TRUMP
               FOR PRESIDENT, Giuliani, and others worked jointly to overturn
               the election results in major cities where Black voters had
               overwhelmingly supported Biden and Harris. Giuliani falsely claimed
               there had been widespread voter fraud in Detroit, Atlanta,
               Philadelphia, and Pittsburgh—all of which have large Black
               populations—and that Philadelphia had “a sad history of voter fraud.”
               He also falsely claimed that deceased Black Americans had been
               allowed to vote, misleadingly calling out specific Black voters by
               name. Later, Giuliani advocated for rejecting all votes cast in Detroit,


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               which has a population that is 78 percent Black. Giuliani falsely
               asserted that TRUMP lost Wisconsin because of voter fraud in
               Milwaukee and Madison, which are also home to large Black
               populations, and claimed that “big city . . . crooks” in multiple states
               had conspired to “steal votes” from TRUMP. Attempts to smear
               Black voters and cities with large Black populations as criminal and
               fraudulent have long been used to disenfranchise Black Americans
               and were interpreted this way by many of the conspirators. This
               narrative fueled anger among white supremacist groups and others
               and evidences the racism that helped motivate them from the start.

       Again, of course, these minority voters are the ones whose votes were stolen by mostly-

White Democrat operatives in the electoral fraud alleged by the Defendants. Naming the cities

were voters votes were stolen is not racially discriminatory against those whose votes were

stolen there. The legitimate voters of those cities are not the problem, obviously.


               76. a. On December 23, 2020, TRUMP called Frances Watson, the
               chief investigator for the Georgia Secretary of State’s office, who was
               performing a ballot audit in Cobb County, and told her—without any
               factual support—to scrutinize the ballots and she would find
               “dishonesty.” TRUMP stressed to Watson that she would earn
               TRUMP’s “praise” if she did so. TRUMP also asked Watson to
               review votes in Fulton County, Georgia’s most populous county,
               where 45% of residents are Black.

               80. Consistent with the racially motivated mission of PROUD BOYS,
               the rally resulted in acts of violence against Black Americans.
               PROUD BOYS members attacked a Black woman and, separately, a
               solitary Black bystander, trapping him against a wall and beating him
               until police arrived. PROUD BOYS members also deliberately
               destroyed property at Black institutions in the District of Columbia,
               tearing down multiple Black Lives Matter signs at historically Black
               churches, including Asbury United Methodist Church and etropolitan
               African Methodist Episcopal Church. TARRIO was arrested in illegal
               possession of high-capacity firearms magazines on January 4, 2021,
               in Washington, D.C., on charges of burning the Asbury church’s
               banner. He pled guilty to both of these offenses on July 19, 2021




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       Of course, TARRIO is a Black man who immigrated legally from Cuba. Ooops.

Furthermore, the Proud Boys were in fact attacked and stabbed by the Left-wing rioters, some of

whom were Black, on December 12, 2020.

       It is likely that the false smears that the race-neutral Proud Boys are racist (which they are

not) is inciting violence that is going to get someone killed. Proud Boys members suffered stab

wounds from the violent attacks by Leftists upon them on December 12, 2020.

       H) Plaintiffs’ Allegations are Improper, Including as Rule 11 Violations

       Given that the Plaintiffs’ allegations also violate FRCP Rule 11, the effects upon the jury

pool are legally even more significant.

       Given that the Plaintiffs’ allegations also violate FRCP Rule 11, the propriety and

necessity is far greater of striking the “impertinent” and “scandalous” material (as FRCP Rule

12(f) oddly describes it – Defendant’s counsel would describe the material as false, unnecessary,

and unfairly prejudicial). Matter that violates FRCP Rule 11 especially should be stricken.

       Plaintiffs sue under a non-existent law transparently for the purpose of continuing to lie

about these Defendants and falsely accuse the Defendants of being White supremacists. This

allegation is without evidentiary support.

       Without the slightest shred of any evidence of any racial motivation, Plaintiffs allege that

attempts to ensure that the 2020 presidential election was conducted honestly, pursuant to Article

II, Section 1 of the U.S. Constitution, accurately, and transparently for the confidence of the

American people has some racial motive.

       There is no evidentiary basis for Plaintiffs alleging that preferring Trump over Biden for

President in November 2020 or wanting credible, accurate election results the public can trust

would have any racial aspect to it whatsoever. The attempt to inject race into events having no




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racial component of any kind is a violation of FRCP Rule 11, once these defamatory lies from

the political world became converted into the Complaint filed here in federal court.

        Whether one candidate is better than another is of course, beyond all doubt, not of

interest to federal courts. But corrupting the judicial process with false and frivolous allegations

of racism is an improper purpose under FRCP Rule 11 and should be of concern.

   V.      CONCLUSION

        The Court should order that the Complaint be redrafted to remove mentions of a Klu

Klux Klan Act, the Klu Klux Klan, White supremacists, racism, racial motives, or other material

that FRCP Rule 12(f) calls in colorful language impertinent or scandalous.

Dated: December 24, 2021              RESPECTFULLY SUBMITTED
                                      ZACHARY REHL, By Counsel




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